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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

 MAURICE VERNON                                        )
                                                       )
                         Plaintiff,                    ) Case No. 21-cv-06463
                                                       )
                 v.                                    ) Judge Sharon Johnson Coleman
                                                       )
 ILLINOIS DEPARTMENT OF                                )
 CORRECTIONS and ROB JEFFREYS,                         )
 DIRECTOR OF THE ILLINOIS                              )
 DEPARTMENT OF CORRECTIONS                             )
                                                       )
                         Defendants.                   )



                          MEMORANDUM OPINION AND ORDER

        Plaintiff Maurice Vernon filed an amended complaint under 42 U.S.C. § 1983 against

Defendants Illinois Department of Corrections and Rob Jeffreys, in his individual capacity and in his

official capacity as the Director of the Illinois Department of Corrections (collectively,

“Defendants”). Plaintiff alleges that Defendants subjected him to false imprisonment, unlawful

detention, and violated his due process rights. Defendants filed a motion to dismiss the complaint

for failure to state a claim pursuant to Federal Rule of Civil Procedure 12(b)(6). For the reasons

stated below, the motion is granted.

Background

        Plaintiff was incarcerated within the Illinois Department of Corrections (“IDOC”), an

Illinois agency operating throughout the State. (Dkt. 1, ¶ 8) Defendant Robert Jeffreys served as the

IDOC Director from June 2019 until April 1, 2023.

        The following facts are taken from Plaintiff’s amended complaint and accepted as true for

the purpose of deciding this motion. On October 7, 2015, Plaintiff was sentenced to seven years for

manufacturing and delivering heroin. (Dkt. 1, ¶ 8). According to Plaintiff’s sparse complaint, he at


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some point notified Defendants that he was entitled to a shorter sentence because of time he

previously served. (Dkt. 1, ¶ 8). In total, Plaintiff alleges that he was detained for approximately 175

days past the date on which he should have been released. (Dkt. 1, ¶ 8). On December 4, 2019, the

Cook County Circuit Court judge presiding over Defendant’s case issued an Order of Commitment

and Sentence, declaring Plaintiff’s sentence fully served. (Dkt. 1, ¶ 8).

Legal Standard

         A motion to dismiss pursuant to Rule 12(b)(6) for failure to state a claim tests the sufficiency

of the complaint, not its merits. See Camasta v. Jos. A. Bank Clothiers, Inc., 761 F.3d 732, 736 (7th Cir.

2014). The Court accepts well-pleaded factual allegations as true and draws all reasonable inferences

in favor of the plaintiff. Erickson v. Pardus, 551 U.S. 89, 94 (2007); Trujillo v. Rockledge Furniture LLC,

926 F.3d 395, 397 (7th Cir. 2019). To survive a motion to dismiss, plaintiff must “state a claim to

relief that is plausible on its face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007). Mere

recitations of the elements of a cause of action in a conclusory fashion are not sufficient to survive a

motion to dismiss. Ashcroft v. Iqbal, 556 U.S. 662, 678, (2009).

Discussion

         The sole issue is whether any of the Defendants can be properly sued for the alleged wrongs.

The Court considers whether Eleventh Amendment bars Plaintiff’s action against the IDOC and

Commissioner Jeffreys in his official capacity, and whether plaintiff has alleged facts to establish that

Commissioner Jeffreys played a sufficient role in the alleged wrong to warrant individual liability.

    I.       Defendant Illinois Department of Corrections

         Plaintiff cannot sue the IDOC in federal court. Taylor v. Stateville Dep’t of Corr., No. 10 C

3700, 2010 WL 5014185, at *2 (N.D. Ill. Dec. 1, 2010) (Coleman, J.) (holding that, as an arm of the

state, IDOC is immune from suit under the Eleventh Amendment); Herndon v. Ill. Dep’t of Corr., No.

16 C 0205, 2016 WL 11656986, at *2 (N.D. Ill. Feb. 4, 2016) (Coleman, J.). The Eleventh



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Amendment to the United States Constitution provides: “The Judicial power of the United States

shall not be construed to extend to any suit in law or equity, commenced or prosecuted against one

of the United States by Citizens of another State . . . .” U.S. Const. amend. XI. The Supreme Court

has interpreted the Eleventh Amendment to also bar federal jurisdiction over suits brought against a

state by one if its own citizens. MCI Telecomms. Corp. v. Ill. Bell Tel. Co., 222 F.3d 323, 336 (7th Cir.

2000) (citing College Saving Bank v. Fla. Prepaid Postsecondary Educ. Expense Bd., 527 U.S. 666, 669–70

(1999)).

           The immunity conferred on a state by the Eleventh Amendment also extends to a state’s

agencies. MCI Telecomms. Corp., at 336; P.R. Aqueduct & Sewer Auth. v. Metcalf & Eddy, Inc., 506 U.S.

139, 144 (1993). The Illinois Department of Corrections is an Illinois state agency, and is therefore

entitled to Eleventh Amendment protections. See Wittmer v. Peters, 904 F. Supp. 845, 855 (C.D. Ill.

1995), aff’d, 87 F.3d 916 (7th Cir. 1996); Sittig v. Ill. Dep’t of Corr., 617 F. Supp. 1043, 1044 (N.D. Ill.

1985) (Bua, J.); Herndon, at *2. Additionally, even though there are indications that Count II may

bear the indicia of a Monell claim and certain units of local government may in fact face liability

under Monell, the IDOC is a state agency and not a unity of local government and is thus still entitled

to sovereign immunity. Ambrose v. Godinez, 510 F. App’x 470, 472 (7th Cir. 2013) “governmental

liability under [Monell], is limited to municipalities, which a state is not”); Monell v. Dep’t of Soc. Servs.,

436 U.S. 658, 690 (1978).

           Courts recognize two well-known exceptions to a state’s Eleventh Amendment protection,

but neither would permit Plaintiff to proceed with this suit. First, Congress may by unequivocal

language use its enforcement power under the Fourteenth Amendment to abrogate a state’s

Eleventh Amendment immunity. Kroll v. Bd. of Trustees of Univ. of Ill., 934 F.2d 904, 907 (7th Cir.

1991). But the Supreme Court “long ago dispelled the notion that section 1983” did such a thing.




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Id. at 909. Plaintiff brought his claims only under section 1983, 1 and thus he cannot rely on the

congressional abrogation exception.

          Second, a state may waive Eleventh Amendment protections and thereby consent to suit in

federal court. Id. at 907. Courts will recognize such a waiver “only where stated by the most express

language or by such overwhelming implication from the text as will leave no room for any other

reasonable construction.” Port Auth. Trans-Hudson Corp. v. Feeney, 495 U.S. 299, 305 (1990).

However, Illinois did not consent to suit in federal court in the statute establishing the IDOC, and

therefore Plaintiff cannot rely on the waiver exception. Wilson v. Cooper, 922 F. Supp. 1286, 1295

(N.D. Ill. 1996) (Alecia, J.); Knox v. McGinnis, 998 F.2d 1405, 1412 (7th Cir. 1993). The Court

therefore dismisses the claims against IDOC with prejudice. See Herndon, at *2.

    II.      Defendant Jeffreys in his Official Capacity

          Plaintiff also cannot bring this monetary damages suit against Defendant Jeffreys in his

official capacity. “Official-capacity suits for retrospective relief—i.e. money damages payable from

the state treasury—generally implicate the Eleventh Amendment” in the absence of state waiver or

congressional abrogation. Kroll, at 907–08; See also Sweeney v. Madigan, 359 F. Supp. 3d 585, 592

(N.D. Ill. 2019) (Coleman, J.) (“The Eleventh Amendment generally bars actions in federal court

against . . . state officials acting in their official capacities.”).

          As a state official, Defendant Jeffreys enjoys Eleventh Amendment protections from

retrospective suits. See Santiago v. Bradley, No. 17-CV-989, 2021 WL 3741475, at *7 (S.D. Ill. Aug. 24,

2021) (finding a money damages suit against Director Rob Jeffreys in his official capacity barred by

the Eleventh Amendment); see also Wittmer, at 855 (applying the Eleventh Amendment to dismiss




1 For purposes of deciding Defendants’ motion, the Court assumes that each of Plaintiff’s claims are properly brought

under section 1983.


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claims for money damages against warden in his official capacity). 2 Plaintiff does not seek

prospective, injunctive relief against Defendant, and thus the Court does not consider whether

plaintiff may proceed under Ex Parte Young. See MCI Telecomms. Corp., at 337 (“The Ex parte Young

doctrine allows private parties to sue individual state officials for prospective relief to enjoin ongoing

violations of federal law.”).

    III.       Defendant Jeffreys in his Individual Capacity

           Plaintiff’s Amended Complaint also seeks damages from Defendant Jeffreys in his individual

capacity. “Individual liability under section 1983 ‘requires personal involvement in the alleged

constitutional deprivation.’” Melvin v. Kramer, No. 17-CV-5943, 2019 WL 5550581, at *2 (N.D. Ill.

Oct. 28, 2019) (Coleman, J.) (citing Colbert v. City of Chicago, 851 F.3d 649, 657 (7th Cir. 2017), cert.

denied sub nom. 138 S. Ct. 657 (2018)); see also Rasho v. Elyea, 856 F.3d 469, 478 (7th Cir. 2017) (“[I]n

order to hold an individual defendant liable under [section] 1983 for a violation of an inmate’s

constitutional rights, the inmate must show that the defendant was personally responsible for that

violation.”).

           Plaintiff’s complaint offers no facts that suggest Defendant Jeffreys had any involvement

whatsoever in Plaintiff’s injuries, let alone personal responsibility for them. Without more details,

Plaintiff’s allegation that Defendant, himself, received “actual, and constructive written and oral

notice” of Plaintiff’s unlawful detention is merely conclusory and therefore must be dismissed.

           Importantly, “[t]here is no respondeat superior liability under section 1983, and supervisory

liability does not attach automatically” based on Defendant Jeffreys’s role as IDOC director. Melvin,



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 While Defendant Jeffreys no longer serves as the IDOC director, Plaintiff’s official capacity suit against the current
director would be similarly barred by the Eleventh Amendment. Per Federal Rule of Civil Procedure 25(d), the Court
considers this official capacity suit as against the current IDOC director. See Fed. R. Civ. P. R. 25(d) (“When a public
officer is a party to an action in his official capacity and during its pendency dies, resigns, or otherwise ceases to hold
office the action does not abate and the officer’s successor is automatically substituted as a party. . . . The court may
order substitution at any time, but the absence of such an order does not affect substitution.”). IDOC’s website lists
Latoya Hughes as the current Acting Director. See https://idoc.illinois.gov/aboutus/director.html.


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at *2; Kinslow v. Pullara, 538 F.3d 687, 692 (7th Cir. 2008) (respondeat superior does not apply to section

1983 claims). Instead, to hold a supervisor liable under section 1983, a plaintiff must show that a

defendant supervisor had personal responsibility such that the supervisor knew “about the conduct

and facilitate[d] it, approve[d] it, condone[d] it, or turn[ed] a blind eye for fear of what they might

see.” Matthews v. City of E. St. Louis, 675 F.3d 703, 708 (7th Cir. 2012).

        Based on Plaintiff’s complaint, the Court cannot conclude that Jeffreys played such a role.

Plaintiff failed to allege facts showing that Jeffreys individually had notice of Plaintiff’s detention nor

that he played any role in it. Plaintiff also failed to identify a statute or policy under which Jeffreys

would have been required by law to sign off on or have knowledge of Plaintiff’s detention.

Therefore, the Court dismisses the claims against Defendant Jeffreys in his individual capacity

without prejudice.

Conclusion

        For the foregoing reasons, the Court grants Defendants’ motion to dismiss in full, with

prejudice with respect to the IDOC and Jeffreys in his official capacity, and without prejudice with

respect to Jeffreys in his individual capacity. Plaintiff is granted 21 days leave to file an amended

complaint against Jeffreys in his individual capacity in accordance with this opinion.




        IT IS SO ORDERED.

Date: 9/14/2023                                           Entered:_____________________________
                                                                 SHARON JOHNSON COLEMAN
                                                                 United States District Judge




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